 Case 14-19851-amc          Doc 33-1 Filed 04/17/20 Entered 04/17/20 09:52:24                 Desc
                                Expedited Notice Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                :
         Marcia Randazzo                              :       Case No.: 14-19851AMC
                                                      :
         Debtor                                       :       Chapter 13

  NOTICE OF MOTION, RESPONSE DEADLINE and EXPEDITED HEARING DATE

       I, Brad J. Sadek, Esq., attorney for the Debtor in the above captioned matter has filed an
Expedited Motion to Sell Real Property for the reasons detailed in the enclosed Motion.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this Bankruptcy case. (If you do not have an attorney you
may wish to consult an attorney).

        1.     If you do NOT want the court to grant the relief sought in the motion, then on or
before the hearing date of April 21, 2020 you or your Attorney must do ALL of the following:

If you mail your answer to the clerk’s office for filing, you must mail it early enough so that it
will be received on or before the date stated above; and

(a)      file an answer explaining your position at:
                                United States Bankruptcy Court
                                Eastern District of Pennsylvania
                                900 Market Street, Suite 400
                                Philadelphia, PA 19107
(b)      mail a copy to the movant’s attorney:
                                Brad J. Sadek, Esq.
                                1315 Walnut Street #502
                                Philadelphia, PA 19107

       2.     If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the court may enter an order granting the relief requested in the
enclosed motion.

        3.      A hearing on the motion is scheduled to be held before The Honorable Ashely
M. Chan on April 21, 2020, at 11:00 AM at The United States Bankruptcy Court, 900 Market
Street, Philadelphia, Courtroom #4, Philadelphia, PA 19107.

      4.      You may contact the Bankruptcy Clerks office at (215) 408-2800 to find out
whether the hearing has been cancelled because no one filed an answer.
